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12
                               NORTHERN DISTRICT OF CALIFORNIA
13                                 SAN FRANCISCO DIVISION
14    MOLLY BROWN and KEPPIE MOORE,                          Case No. 21-cv-1233
15    individually and on behalf of others similarly
      situated,                                              CLASS ACTION
16
                                        Plaintiffs,          COMPLAINT
17            v.
                                                             California Business and Professions Code §
18
      MADISON REED, INC.,                                    17200 et seq. and § 17500 et seq.; California
19                                                           Civil Code § 1750 et seq.
                                   Defendant.
20                                                           DEMAND FOR JURY TRIAL

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1            Plaintiff Keppie Moore and Plaintiff Molly Brown (“Plaintiff Moore” and “Plaintiff

2    Brown,” respectively, and collectively, “Plaintiffs”), by and through their undersigned counsel,

3    allege the following class action complaint against defendant Madison Reed, Inc., (“Defendant” or

4    “Madison Reed”), based upon their own personal knowledge and the investigation of their counsel.

5    Plaintiffs believe that substantial evidentiary support will exist for the allegations set forth herein

6    after a reasonable opportunity for discovery.

7                                              INTRODUCTION

8            1.      Over time, consumers have become significantly more aware and sensitive to

9    ingredients contained in consumable goods. Today’s consumers strive to buy products that deliver

10   optimum results while using less toxic ingredients than the ingredients used in similar products in

11   the past.

12           2.      Founded in 2014, Defendant manufactures and sells Madison Reed Hair Color

13   Products (the “Products”).

14           3.      Trying to meet today’s consumers demands, Defendant claims to sell high quality hair

15   color products that use ingredients that are less “harsh” on hair health, as well as the health of the user,

16   than traditionally-formulated hair color products. In fact, Defendant has specifically stated that its

17   hair color products were designed with consumers’ “well-being in mind.”

18           4.      Defendant touts that the Products are made from “Italian formulas” “full of good stuff”
19   that deliver “salon quality hair color” to consumers’ homes.

20           5.      Defendant also routinely touts that the Products are free of certain “harsh ingredients”

21   traditionally found in hair color products. Specifically, Defendant states that the Products are free of,

22   among other things, ammonia, resorcinol and PPD; chemicals that are viewed by consumers as being

23   “bad” for application on hair and the human body.

24           6.      Defendant makes these representations prominently on the Products’ labeling and

25   website, as well as through the marketing of the Products by mail, online, and via television and radio.

26           7.      Unfortunately for consumers who have purchased the Products, such as Plaintiffs,
27   Defendant’s representations about the Products’ ingredients’ effect on hair and human health are

28   misleading.

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1            8.       For example, while the Products’ “ammonia free” claim is technically correct, the

2    ammonia has been replaced with ethanolamine, which some studies have shown is worse for hair than

3    ammonia and is not less “harsh” or harmful to human health. Ironically, ethanolamine is derived from

4    ammonia since it is created by causing a reaction between ammonia and another chemical that is

5    known to be a human carcinogen.

6            9.       Defendant replaced the ingredient resorcinol with 2-methylresorcinol. At least two

7    studies have indicated that both resorcinol and 2-methylresorcinol are nearly equally harmful for

8    thyroid function in humans. In addition, 2-methylresorcinol is not a well-studied ingredient and,

9    therefore, its safety is still suspect.

10           10.      Finally, Defendant replaced the ingredient PPD (p-phenylenediamine) with PTDS

11   (toluene-2,5-diamine sulfate), arguably to reduce allergic reactions in certain consumers. However,

12   PTDS is not much better than PPD as far as toxicity to the human body and, importantly, it does not

13   meaningfully lower allergic reactions to the Products since almost half of consumers that are allergic

14   to PPD also experience an allergic reaction to PTDS.

15           11.      Accordingly, Defendant’s statements about the quality of the Products for hair

16   health, as well as the statements that the Products do not contain certain “harsh ingredients”

17   traditionally found in hair color products, are deceptive. That is, although Defendant’s statements

18   that it does not use “ammonia, resorcinol and PPD” are technically correct, these ingredients’
19   replacements are no better, thereby making Defendant’s messaging about the Products materially

20   misleading. Defendant’s other statements about its use of “good stuff” in the Products, like argan

21   oil and keratin, do not do enough to offset its deceptive conduct. Moreover, Defendant’s other

22   statements (described below) that reinforce the Product’s health claims are also unlawful.

23           12.      Defendant has profited enormously from its false and misleading representations that

24   the Products are better for hair health, and less harmful to the health of it users, over traditional hair

25   color products. This proposed class action seeks to put an end to Defendant’s deceptive marketing

26   of the Products.
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1                                       JURISDICTION AND VENUE

2           13.     This Court has personal jurisdiction over the parties in this case. Plaintiff Moore is

3    a citizen of Altadena, California, which is located in Los Angeles County. Plaintiff Brown is a

4    citizen of Novato, California, which is located in Marin County.

5           14.     Defendant’s principal place of business is in this District.           Defendant also

6    purposefully avails itself of the California consumer market and sells the Products in at least two

7    locations within this District and other retail locations throughout California, where the Products are

8    purchased by consumers every day.

9           15.     This court has jurisdiction pursuant to 18 U.S.C. §1332(d), which under the provisions

10   of the Class Action Fairness Act (“CAFA”), explicitly provides for the original jurisdiction of the

11   Federal Courts in any class action in which any member of the plaintiff class is a citizen of a State

12   different from any defendant, and in which the matter in controversy exceeds the sum of $5,000,000,

13   exclusive of interest and costs. Members of the plaintiff class are citizens of numerous other States,

14   including New York, New Jersey, Texas and Florida.

15          16.     Venue is proper in this District under 28 U.S.C. § 1391(a). Substantial acts in

16   furtherance of the alleged improper conduct occurred within this jurisdiction. Plaintiff Brown resides

17   within this jurisdiction and bought Defendant’s Products within this jurisdiction.

18                                                 PARTIES
19                                                  Plaintiffs

20          17.     Plaintiff Keppie Moore is a citizen of Altadena, California. Plaintiff Moore

21   purchased Madison Reed “radiant Hair Color Kit” (Perugia Black) in, or about, February 2020 from

22   Ulta Beauty located in Pasadena, California. She relied on Defendant’s false, misleading, and

23   deceptive written misrepresentations on its website and on the packaging of the Products that stated

24   it was “Free of” “ammonia,” “PPD” and “resorcinol,” in deciding to purchase the Products,

25   believing that it was better for her hair and less harmful to her health. Had Plaintiff Moore known

26   the truth that the Products were not better for her hair or less harmful to her health, she would not
27   have purchased Defendant’s Products or would have paid less for them. In addition, after using

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1    Defendant’s hair color product, Plaintiff Moore’s scalp became irritated, she suffered some hair

2    loss, and the remaining hair on her head turned dry and brittle.

3              18.   Plaintiff Molly Brown is a citizen of Novato, California.           Plaintiff Brown

4    purchased Madison Reed “radiant Hair Color Kits” (Catiana Brown and Ravenna Brown) online

5    between early 2016 through 2018 through Defendant’s website. She relied on Defendant’s false,

6    misleading, and deceptive written misrepresentations on its website and on the packaging of the

7    Products that stated it was “Free of” “ammonia,” “PPD” and “resorcinol,” in deciding to purchase

8    the Products, believing that it was better for her hair and less harmful to her health. Had Plaintiff

9    Brown known the truth that the Products were not better for her hair or less harmful to her health,

10   she would not have purchased Defendant’s Products or would have paid less for them. In addition,

11   after using Defendant’s hair color products, Plaintiff Brown’s hair turned brittle and she began to

12   suffer some hair loss. After discontinuing the use of Defendant’s hair color products, her hair loss

13   ceased.

14                                                 Defendant

15             19.   Defendant Madison Reed, Inc. is a Delaware corporation with its principal place of

16   business at 430 Shotwell Street, San Francisco, California 94110, which is located in San Francisco

17   County.

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1                                   COMMON FACTUAL ALLEGATIONS

2       I.          Defendant’s Representations Regarding the Company

3             20.      Defendant markets itself as an honest company that delivers a better hair color

4    product than those using traditional ingredients and formulas.

5             21.      On its website (www.madison-reed.com), Defendant describes itself as follows:

6             We started Madison Reed with a simple mission:

7             To provide the best, most luxurious hair color, made with ingredients you can
              feel good about.
8

9             We are a hair color company built on integrity, innovation, and love—for you
              and for your hair color. We’ve partnered with honest and transparent
10
              manufacturers in Italy—operating under strict EU regulations—to formulate a
11            collection of professional, high-performance hair color and care products.

12   (available at https://www.madison-reed.com/learn-more)(last visited on January 11,
13   2021)(emphasis added).
14            22.      Defendant also states that:

15           At the forefront of innovation, we created the first ever Smart 8-Free permanent
             hair color free of harsh ingredients: ammonia, paraben, resorcinol, PPD,
16           phthalates, gluten, SLS, and titanium oxide. And we added hair-loving nutrients
17           including keratin, argan oil, and ginseng root extract to protect and pamper your
             hair.
18      Id. (emphasis added).

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        II.         Defendant’s Representations Regarding the Products’ Quality and Safety
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              23.      Defendant markets that its Madison Reed hair color products are better for hair
21
     health and less harmful for human consumption than hair color products made using traditional
22
     formulas and ingredients.
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              24.      For example, in a television commercial promoting the Products called “Better
24
     Ingredients,” Defendant states:
25
            Healthy, shiny, rich with color, beautiful hair is simply captivating. And now you
26          can get exquisite, salon color like this at home. Introducing Madison Reed,
            gorgeous hair color you’ll only find online. We started by throwing out the
27          usual harsh ingredients, instead Madison Reed is packed with all the things
            healthy hair loves.
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1    Madison Reed, Better Ingredients, iSpot.tv (2015) https://ispot.tv/a/73x8.

2              25.    In a promotional message delivered by Defendant’s founder and Chief Executive
3    Officer, Amy Errett, she discusses the Products and the health-driven reasons for the founding of
4    Madison Reed as follows :
5
               And for those people that don’t know, one of the big purpose-driven pieces of
6              Madison Reed is a set of ingredients in our hair color that I believe you could
               feel good about because we’ve taken out many of the harsh chemicals.
7

8                                                      ***
               And then one morning, on the way to go to work and I was a venture capitalist at
9              the time, she [referring to her daughter] said the following, mommy are you going
               to do it? And I said, do what? And she said, help women and save their lives.
10             So when your kid says that to you, . . . you pay attention to those words.
11   Madison Reed, The Year of You: A Message From Our CEO, YouTube (Jan. 2, 2018),
12
     https://youtu.be/qgSPf7rz8Ks (starting at 00:01:54).
13

14             26.    On Defendant’s website (www.madison-reed.com), in the “Ingredients” tab (which

15   can be found under the “About” tab), below the heading “Ingredients With Integrity,” Defendant

16   states:
               We have a keen interest in your well-being. That's why we design our products
17             with ingredients that nurture your hair and avoid those that don't. Our Italian
               color-makers bring a detailed eye and generations of experience to their craft.
18
               The result is innovative color made with an unwavering commitment to quality
19             that meets the strict safety standards put forth by the European Union (EU), which
               bans chemicals not proven to be safe. And, we can all appreciate that.
20
         (available at https://www.madison-reed.com/hair-dye-ingredients)(last visited on July
21
         31, 2020)(emphasis added).
22

23             27.    In a description of the product on a third-party retail website, Defendant lists as one

24   of seven “Key Benefits” of its “Radiant Hair Color Kit:” “Free of: ammonia,” “resorcinol” and

25   “PPD.” See Madison Reed Hair Color Product Listing on Ulta.com (available at

26   https://www.ulta.com/radiant-hair-color-kit?productId=xlsImpprod15741035)(last visited on

27   January 11, 2021).

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            28.      As seen below, the Products’ packaging also highlights that it is, among other things,
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2    “Free of ammonia,” “resorcinol” and “PPD.”

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            29.      Defendant entered the men’s hair and beard color market in 2020 with the same
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22   messaging it has been delivering to women consumers since its founding. As seen in the screenshot

23   of Defendant’s website below, Defendant states that its Products for men are free of “bad stuff” and

24   full of “good stuff.”
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6    (available at https://www.madison-reed.com/product/mens-medium-brown)(last visited on January
7    11, 2021). Similar messaging to men has also been delivered via radio commercials by Defendant’s
8    CEO.
9               30.      Unfortunately for consumers, Defendant’s representations that the Products are “Free
10   of bad stuff, Full of good stuff,” or better for your hair and less harmful to your body, are misleading
11   and false. Rather, as described below, the Products contain replacements for ammonia, resorcinol and
12   PPD that are just as bad or worse than the ingredients they replace. Indeed, as discussed below,
13   Defendant’s purported “better” replacement ingredients pose health risks to both humans and animals,
14   do not meaningfully cure the health issues caused by the ingredients they replaced and some have
15   even been determined to be worse for hair health. Moreover, Defendant’s addition of “good”
16   ingredients to the Products do not offset their deceptive conduct vis-à-vis the “bad” ingredients it
17   states have been removed.
18       III.         Defendants’ Replacement of Ammonia with Ethanolamine
19           31.         Ammonia is used in hair dye in order to open up the hair’s cuticle (or outside protective
20   coating) so that the dye can deposit onto the hair. Although Defendant does not use ammonia in its
21   Products, it uses ethanolamine to achieve the same effect. A direct relative of ammonia, ethanolamine
22   is produced through a chemical reaction of ethylene oxide (a human carcinogen according to the U.S.
23   Environmental Protection Agency)1 with ammonia.
24           32.         Ethanolamine, which unsurprisingly has an ammonia-like odor, has been given a
25   toxicity rating that is no better than that of ammonia by the Environmental Working Group (“EWG”),
26
27
     1
28    See Ethylene Oxide (available at https://www.epa.gov/sites/production/files/2016-
     09/documents/ethylene-oxide.pdf)(last visited on January 11, 2021).
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1    a “non-profit, non-partisan organization dedicated to protecting human health and the environment.”2

2    EWG’s “Skin Deep” database, which houses toxicity reports for many chemicals used in products

3    meant for human consumption, gives ethanolamine a toxicity rating of 5-6 (10 being the most

4    toxic)(available at https://www.ewg.org/skindeep/ingredients/702286-ethanolamine/)(last visited on

5    January 11, 2021), while ammonia is rated 2-6 (https://www.ewg.org/skindeep/ingredients/700353-

6    AMMONIA/)(last visited on January 11, 2021). Thus, according to EWG, Defendant replaced

7    ammonia with a chemical that is no less toxic.

8           33.     There is also limited evidence that ethanolamine is a teratogen (a chemical that

9    interferes with fetus development) in animals. In fact, the New Jersey Department of Health (the

10   “NJDOH”) states that “[u]ntil further testing has been done, it should be treated as a possible

11   teratogen in humans.” N.J. Dept of Health and Senior Services Hazardous Fact Sheet -

12   Ethanolamine (available at https://www.nj.gov/health/eoh/rtkweb/documents/fs/0835.pdf)(last

13   visited on January 11, 2021).

14          34.     The NJDOH also states that ethanolamine “may damage the liver and kidneys,” and

15   that high exposure of this chemical “may affect the nervous system.” Id. Interestingly, ammonia,

16   the purportedly “harsher” chemical that Defendant got rid of and replaced with ethanolamine, causes

17   only one chronic symptom according to the NJDOH: an “asthma-like allergy with shortness of

18   breath, wheezing, coughing and/or chest tightness.” (available at
19   https://www.nj.gov/health/eoh/rtkweb/

20   documents/fs/0084.pdf)(last visited on January 11, 2021). If given the choice between the two risks,

21   either an asthma-like allergy on the one hand or damage to the liver, kidney or nervous system on

22   the other, a consumer would probably rather risk using ammonia over ethanolamine.

23          35.     Moreover, there is some indication that ethanolamine is worse for hair health than

24   ammonia. In one study, researchers applied different methods to measure hair cuticle damage and

25   protein loss, and found that there is more hair damage from ethanolamine than from ammonia; in

26   some extreme cases as much as 85% more. See Aarron D. Bailey, et al., Comparison of Damage to
27   2
      EWG is a 501(c)(3) nonprofit corporation. EWG compiles and maintains the Skin Deep®
28   cosmetic database that gives people practical solutions to protect themselves and their families from
     everyday exposures to potentially toxic chemicals in personal care and beauty products.
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1    Human Hair Fibers Caused by Monoethanolamine- And Ammonia-Based Hair Colorants, JOURNAL

2    OF               COSMETIC             SCIENCE         (Jan.-Feb.        2014)          (available          at

3    https://pubmed.ncbi.nlm.nih.gov/24602818/)(last visited on January 11, 2021).3

4               36.        Another study found that hair color products that contain ethanolamine versus

5    ammonia are more likely to cause hair loss. See Jung-A Seo et al., Hydrogen Peroxide and

6    Monoethanolamine Are the Key Causative Ingredients for Hair Dye-Induced Dermatitis and Hair

7    Loss,        JOURNAL           OF      DERMATOLOGICAL        SCIENCE       (Apr.     2012)(available       at

8    https://pubmed.ncbi.nlm.nih.gov/22269445/)(last visited on January 11, 2021).

9         IV.         Defendants’ Replacement of PPD with PTDS

10              37.        PPD, a/k/a p-phenylenediamine, is a permanent hair dye typically found in hair color

11   products.         PPD is rated seven out of ten in EWG’s Skin Deep database (available at

12   https://www.ewg.org/skindeep/ingredients/704389-PPHENYLENEDIAMINE/)(last                        visited   on

13   January 11, 2021) and is most commonly associated with allergic reactions.              Madison Reed has

14   replaced PPD with toluene-2,5-diamine sulfate (“PTDS”), arguably to lower the risk of an allergic

15   reaction.

16              38.        First, the “Skin Deep” database rated PTDS’s toxicity as being no better than PPD – it

17   received               a        4-7        toxicity        rating       depending          on          usage.

18   https://www.ewg.org/skindeep/ingredients/706579-
19   TOLUENE25DIAMINE_SULFATE/)(last visited on January 11, 2021).

20              39.        In addition, a study found that almost half of the people who are allergic to PPD are

21   also allergic to PTDS. See Andrew Scheman et al., Alternative Hair-Dye Products for Persons

22   Allergic         to        Para-Phenylenediamine,     DERMATITIS       (Jul.-Aug.     2011)(available      at

23   https://pubmed.ncbi.nlm.nih.gov/

24   21781634/)(last visited on January 11, 2021).

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       Ethanolamine is commonly referred to as “monoethanolamine” or “MEA” in order to distinguish
     itself from diethanolamine (DEA) and triethanolamine (TEA).
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1             40.      Thus, replacing PPD with PTDS does not meaningfully lower the risk that the Products

2    may still cause allergic reactions in some users, and PTDS appears to be just as toxic to the human

3    body as PPD.

4        V.         Defendant’s Replacement of Resorcinol with 2-methylresorcinol

5             41.      Finally, resorcinol reacts with a hair color developer (often hydrogen peroxide) to bond

6    the dye permanently to the hair. Instead of using resorcinol, Madison Reed uses 2-methylresorcinol

7    in its place.     Although the Skin Deep Database rates 2-methylresorcinol more favorably than

8    resorcinol, the EWG notes that there is not enough data concerning this substance and, accordingly,

9    such data gaps are a concern. See EWG Skin Deep: 2-methylresorcinol (available at

10   https://www.ewg.org/skindeep/

11   ingredients/700027-2METHYLRESORCINOL/) (last visited on January 11, 2021).

12            42.      In addition, 2-methylresorcinol was listed as a potential endocrine disruptor4 by The

13   Endocrine Disruptor Exchange (“TEDX”).5 See TEDX List of Potential Endocrine Disruptors

14   (available at https://endocrinedisruption.org/popup-chemical-details?chemid=188)(last visited on

15   January 11, 2021).          Specifically, TEDX relied on a couple of studies that found that 2-

16   methylresorcinol can disrupt the thyroid’s function. DG Arnott et al., The effect of compounds allied

17   to resorcinol upon the uptake of radioactive iodine by the thyroid of the rat, BIOCHEMICAL JOURNAL

18   (1952)(available       at     https://portlandpress.com/biochemj/article/50/4/473/47469/The-effect-of-
19   compounds-allied-to-resorcinol-upon)(last visited on January 11, 2021); RH Lindsay, et al.,

20   Antithyroid effects of coal-derived pollutants, JOURNAL        OF   TOXICOLOGY    AND   ENVIRONMENTAL

21   HEALTH           (1992)(available       at      https://docksci.com/antithyroid-effects-of-coal-derived-

22   pollutants_5e7382b2097c479a378b4583.html)(last visited on January 11, 2021).

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     4
       Endocrine disruptors are chemicals that can interfere with the body’s endocrine (hormonal)
25   systems. These disruptions can cause cancerous tumors, birth defects and other developmental
     disorders.
26   5
       For 16 years through December 2019, TEDX operated as a science-based, nonprofit research
27   institute with a mission to reduce the production and use of chemicals that interfere with healthy
     hormone function. TEDX used systematic review methods developed by the US National
28   Toxicology Program to answer questions about the hazards chemicals pose. TEDX was forced to
     shut down due its operations due to lack of funding.
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1            43.      Thus, Defendant’s representations that the Products are free of “resorcinol” appear

2    only to provide consumers with a false sense of hope that whatever has been used to replace it is less

3    harmful. However, that is not the case, thereby making Defendant’s statements in this regard false

4    and misleading.

5            44.      In sum, while Defendant touts that it has a “keen interest in [consumers’] well-being,”

6    that its products are free of many “harsh” ingredients and Defendant’s own founder and CEO has

7    stated that the company was founded to “help save women’s lives” from certain unhealthy chemicals

8    contained in traditional hair color products, Defendant’s replacement ingredients are no better than

9    the ingredients they have replaced. For these reasons, Defendant has unlawfully deceived consumers

10   and violated numerous California consumer protection laws.

11                                        RULE 9(b) ALLEGATIONS

12           45.      Rule 9(b) of the Federal Rules of Civil Procedure provides that “[i]n alleging fraud or

13   mistake, a party must state with particularity the circumstances constituting fraud or mistake.” Fed.

14   R. Civ. P. 9(b). To the extent necessary, as detailed in the paragraphs above and below, Plaintiffs

15   have satisfied the requirements of Rule 9(b) by establishing the following elements with sufficient

16   particularity:

17           46.      Who: Defendant Madison Reed, Inc.

18           47.      What: Defendant falsely and deceptively represented that the Products were designed
19   with consumers’ “well-being in mind,” and that they did not contain “harsh ingredients” like

20   ammonia, resorcinol and PPD, even though the replacements for these ingredients were just as “harsh”

21   on hair, if not harsher, and were not less harmful to human health.

22           48.      When: During the Class Period, as defined below, Defendant falsely and deceptively

23   represented that the Products did not contain “harsh ingredients” like ammonia, resorcinol and PPD,

24   even though the replacements for these ingredients were just as “harsh” on hair, if not harsher, and

25   not much better for human health.

26           49.      Where: Defendant’s false and deceptive representations regarding the Products were
27   made on the Product’s packaging, Defendant’s website and elsewhere online, mailed advertising and

28   via television and radio commercials.

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1           50.      How: Defendant made oral and written false and deceptive statements that represented

2    that the Products were designed with “integrity” and with consumers’ “well-being” in mind, and that

3    they contained ingredients that were better for hair health and less harmful to human health.

4           51.      Why: Defendant’s false and deceptive representations relating to the Products were

5    made for the express purpose of inducing Plaintiffs, and other reasonable consumers, to purchase the

6    Products. Defendant profited by selling the Products for artificially inflated prices to thousands of

7    consumers.

8                                            CLASS ALLEGATIONS
            52.      Plaintiffs bring this action under Fed. R. Civ. P. 23(a)(1)-(4) & (b)(3) on their behalf,
9

10   and on behalf of all others similarly situated (the “Class”), initially defined as follows:

11                   All consumers who purchased Defendant’s Hair Color Products (the “Class”)
                     containing Ethanolamine, 2-Methylresorcinol and Touline-2,5-Diamine
12                   Sulfate within the United States and within the applicable statute of limitations
                     period (the “Class Period”). Excluded from the Class are any of Defendant’s
13
                     officers, directors, or employees; officers, directors, or employees of any entity
14                   in which Defendant currently has or has had a controlling interest; and
                     Defendant’s legal representatives, heirs, successors and assigns.
15

16          53.      At this time, Plaintiffs do not know the exact number of members in the Class;
17   however, given the nature of the claims and the number of stores and online sales platforms selling
18   the Products, Plaintiffs believe that members of the Class are so numerous that joinder of all members
19   is impracticable.
20          54.      There is a well-defined community of interest in the questions of law and fact involved
21   in this case. Questions of law and fact common to the members of the Class that predominate over
22   questions that may affect individual Class members include:
23
                     (a) Whether Defendant labeled, marketed, advertised, and/or sold the
24                       Products to Plaintiffs and those similarly situated using false,
                         misleading, and/or deceptive statements or representations,
25                       including statements or representations concerning the ingredients
                         and qualities of the Products;
26
27                   (b) Whether Defendant omitted and/or misrepresented material facts in
                         connection with the sales of its Products;
28

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1                   (c) Whether Defendant participated in and pursued the common course
2                       of conduct complained of herein; and

3                   (d) Whether Defendant’s labeling, marketing, advertising, and/or
                        selling of its Products as being free from “ammonia, “resorcinol”
4                       and “PPD,” as well as other statements made by Defendant stating
                        that the Products were better for hair health and less harmful to
5
                        human health than traditional hair color products, constitutes an
6                       unfair or deceptive consumer sales practice.

7
            55.     Plaintiffs’ claims are typical of those of the Class because Plaintiffs, like all members
8
     of the Class, purchased Defendant’s Products subject to deceptive advertising and labeling and
9
     sustained damages from Defendant’s wrongful conduct.
10
            56.     Plaintiffs will fairly and adequately protect the interests of the Class and have
11
     retained counsel that is experienced in litigating complex class actions. Plaintiffs have no interests
12
     which conflict with those of the Class.
13
            57.     A class action is superior to other available methods for the fair and efficient
14
     adjudication of this controversy.
15
            58.     The prerequisites to maintaining a class action for injunctive or equitable relief are
16
     met as Defendant has acted or refused to act on grounds generally applicable to the Class, thereby
17
     making appropriate final injunctive or equitable relief with respect to the Class as a whole.
18
            59.     The prosecution of separate actions by members of the Class would create a risk of
19
     establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For
20
     example, one court might enjoin Defendant from performing the challenged acts, whereas another
21
     might not. Additionally, individual actions could be dispositive of the interests of the Class even
22
     where certain Class members are not parties to such actions.
23
            60.     Defendant’s conduct is generally applicable to the Class as a whole and Plaintiffs
24
     seek, inter alia, equitable remedies with respect to the Class as a whole. As such, Defendant’s
25
     systematic policies and practices make declaratory relief with respect to the Class as a whole
26
     appropriate.
27

28

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                                           CAUSES OF ACTION
1                                                COUNT I
2                        Violation of California’s Consumers Legal Remedies Act,
                                       CAL. CIV. CODE § 1750 et seq.
3                                          On Behalf of the Class

4           61.     Plaintiffs, individually and on behalf of the Class, repeat and reallege the foregoing

5    paragraphs as though fully set forth herein.

6           62.     Plaintiffs bring this claim individually and on behalf of the Class for violation of

7    California’s Consumers Legal Remedies Act, CAL. CIV. CODE § 1750 et seq. (the “CLRA”).

8           63.     Under the CLRA, “goods” means “tangible chattels bought or leased for use

9    primarily for personal, family, or household purposes . . . .” CAL. CIV. CODE § 1761(a).

10          64.     Under the CLRA, “consumer” means “an individual who seeks or acquires, by

11   purchase or lease, any goods or services for personal, family, or household purposes.” Id. §

12   1761(d).

13          65.     Plaintiffs and the Class members are “consumers” under the CLRA.

14          66.     Under the CLRA, “person” means “an individual, partnership, corporation, limited

15   liability company, association, or other group, however organized.” Id. § 1761(c).

16          67.     Defendant is a “person” under the CLRA.

17          68.     Under the CLRA, “transaction” means “an agreement between a consumer and

18   another person, whether or not the agreement is a contract enforceable by action, and includes the

19   making of, and the performance pursuant to, that agreement.” Id. § 1761(e).

20          69.     Defendant, on the one hand, and Plaintiffs and the Class members, on the other hand,

21   engaged in “transactions” under the CLRA because, among other things, Defendant sold the

22   Products to Plaintiffs and the Class members.

23          70.     Defendant’s actions, representations, omissions, and conduct have violated the

24   CLRA because they extend to transactions that are intended to result, or that have resulted, in the

25   sale of goods and services to consumers.

26          71.     Plaintiffs have standing to pursue these claims becaused they have suffered an

27   injury-in-fact and a loss of money/property as a result of the wrongful conducted alleged herein.

28          72.     Under California Civil Code section 1770(a):

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                      (a) The following unfair methods of competition and unfair or deceptive acts or
1                     practices undertaken by any person in a transaction intended to result or which
2                     results in the sale or lease of goods or services to any consumer are unlawful:

3                                                  * * * * *

4                     (5) Representing that goods or services have sponsorship, approval, characteristics,
                      ingredients, uses, benefits, or quantities that they do not have or that a person has a
5                     sponsorship, approval, status, affiliation, or connection that he or she does not have.
6                     (7) Representing that goods or services are of a particular standard, quality, or grade .
7                     . . if they are of another.

8                     (9) Advertising goods or services with intent not to sell them as advertised.

9    Id. § 1770(a).
            73.       As detailed above, Defendant has violated California Civil Code section 1770(a)(5)
10
     by representing that the Products it sold had certain characteristics and benefits that they did not
11
     have because the ingredients Defendant used to replace certain “harsh” ingredients contained in
12
     traditional hair color products are not better for hair health, or less to harmful to human health, as
13
     represented by Defendant.
14
            74.       As detailed above, Defendant has violated California Civil Code section 1770(a)(7)
15
     by representing that the Products it sold were of a particular quality or grade even though Defendant
16
     sold Products that contained ingredient replacements that were not better for hair health, or less
17
     harmful to human health, as represented by Defendant.
18
            75.       As detailed above, Defendant has violated California Civil Code section 1770(a)(9)
19
     by advertising and marketing the Products with the intent not to sell them as advertised because
20
     Defendant sold Products that contained ingredient replacements that were not better for hair health,
21
     or less harmful to human health, as represented by Defendant.
22
            76.       Additionally, or alternatively, Defendant has violated the CLRA by making material
23
     omissions. At the time Plaintiffs and the Class members purchased the Products, Defendant had a
24
     duty to disclose to Plaintiffs and the Class members the material fact that the Products contained
25
     ingredient replacements that were not better for hair health or less harmful to human health than the
26
     ingredients used in traditional hair color formulas.
27
            77.       Indeed, as the manufacturer and seller of the Products, Defendant had exclusive
28

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1    knowledge that the Product were not as represented by Defendant.

2              78.   When Plaintiffs and the Class members purchased the Products from Defendant,

3    they did not know that the Products were not as represented by Defendant.

4              79.   Plaintiffs and the Class members would not have purchased the Products from

5    Defendant, or would have paid less for them, but for the misleading representations and/or

6    omissions by Defendant detailed above.

7              80.   The Products purchased by Plaintiffs and the Class members from Defendant were

8    worth less than the products for which they paid. Plaintiffs and the Class members paid a premium

9    price for the Products on account of Defendant’s misrepresentations and/or omissions detailed

10   herein.

11             81.   Plaintiffs and the Class members were injured in fact and lost money as a result of

12   Defendant’s representations and/or omissions relating to the sale of the Products.

13             82.   Plaintiffs, individually and on behalf of the Class members, request that the Court

14   enjoin Defendant from continuing to employ the unlawful methods, acts, and practices alleged

15   herein pursuant to California Civil Code section 1780(a)(2). If the Court does not restrain

16   Defendant from engaging in these practices in the future, Plaintiffs and the Class members will be

17   harmed in that they will continue to purchase the Products that are not better for hair health or less

18   harmful to human health than hair color products made using traditional hair color formulas and
19   ingredients.

20             83.   Pursuant to California Civil Code § 1780(a)(1), (a)(3), (a)(4) and (a)(5), Plaintiffs

21   seek individually and on behalf and the Class members actual damages, restitution, punitive

22   damages, attorneys’ fees and costs of litigation, and any other relief the court deems proper.

23             84.   Pursuant to California Civil Code § 1780(b)(1), Plaintiffs seek on behalf of all Class

24   members who are senior citizens or disabled as defined in California Civil Code § 1761(f) and (g),

25   an additional award of up to $5,000 for physical, emotional or economic damage.

26             85.   Pursuant to California Civil Code § 1782(a), Plaintiffs’ counsel notified Defendant in
27   writing by certified mail, return receipt requested, of Defendant’s particular violations of § 1770 of

28   the CLRA and demanded that Defendant rectify its violations. Plaintiff sent that letter on January

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1    15, 2021. To date, Defendant has not agreed to rectify its violations of the CLRA. Accordingly,

2    Plaintiffs seek damages on behalf of themselves and the Class.

3                                                COUNT II
                              Violation of California’s False Advertising Law,
4                               CAL. BUS. & PROF. CODE § 17500 et seq.
5                                          On Behalf of the Class

6

7           86.     Plaintiffs, individually and on behalf of the Class, repeat and reallege the foregoing

8    paragraphs as though fully set forth herein.

9           87.     Plaintiffs bring this claim individually and on behalf of the Class for violation of

10   California’s False Advertising Law, CAL. BUS. & PROF. CODE § 17500 et seq. (the “FAL”).

11          88.     Defendant has violated California Civil Code section 17500 by representing that the

12   Products it sold were of a particular quality or grade that it did not have because Defendant, in fact,

13   sold Products that were not better for hair health or less harmful to human health as represented by

14   Defendant.

15          89.     Additionally, or alternatively, Defendant has violated the FAL by making material

16   omissions. At the time Plaintiffs and the Class members purchased the Products, Defendant had a

17   duty to disclose to Plaintiffs and the Class members the material fact that the Products contained

18   ingredient replacements that were not better for hair health or less harmful to human health than the

19   ingredients used in traditional hair color formulas.

20          90.     Indeed, as the manufacturer and seller of the Products, Defendant had exclusive

21   knowledge that the Product were not as represented by Defendant.

22          91.     When Plaintiffs and the Class members purchased the Products from Defendant, they

23   did not know that the Products were not as represented by Defendant.

24          92.     Plaintiffs and the Class members would not have purchased the Products from

25   Defendant, or would have paid less for them, but for the misleading representations and/or

26   omissions by Defendant detailed above.

27          93.     The Products purchased by Plaintiffs and the Class members from Defendant were

28   worth less than the products for which they paid. Plaintiffs and the Class members paid a premium

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1    price for Products that were not as represented by Defendant.

2             94.    Plaintiffs and the Class members were injured in fact and lost money as a result of

3    Defendant’s representations and/or omissions relating to the sale of the Products.

4             95.    Plaintiffs, individually and on behalf of the Class members, request that the Court

5    enjoin Defendant from continuing to employ the unlawful methods, acts, and practices alleged

6    herein. If the Court does not restrain Defendant from engaging in these practices in the future,

7    Plaintiffs and the Class members will be harmed in that they will continue to purchase Products that

8    are not better for hair health, or less harmful to human health, as represented by Defendant.

9             96.    Therefore, Plaintiffs pray for injunctive and other public relief consistent with the

10   relief (such as restitution) that the California Supreme Court discussed in McGill v. Citibank, N.A.,

11   393 P.3d 85 (Cal. 2017) and the Ninth Circuit in Blair v. Rent-a-Center Inc., 928 F.3d 819 (9th Cir.

12   2019).

13                                               COUNT III
                             Violation of California’s Unfair Competition Law,
14                              CAL. BUS. & PROF. CODE § 17200 et seq.
15                               Unlawful, Unfair, and Fraudulent Prongs
                                           On Behalf of the Class
16

17
              97.    Plaintiffs, individually and on behalf of the Class, repeat and reallege the foregoing
18
     paragraphs as though fully set forth herein.
19
              98.    Plaintiffs bring this claim individually and on behalf of the Class for violation of the
20
     unlawful, unfair, and fraudulent prongs of California’s Unfair Competition Law, CAL. BUS. &
21
     PROF. CODE § 17200 et seq. (the “UCL”).
22
              99.    The circumstances giving rise to Plaintiffs’ and the Class members’ allegations
23
     include Defendant’s corporate policies regarding the sale of the Products.
24
              100.   Under the UCL, “unfair competition” means and includes “any unlawful, unfair or
25
     fraudulent business act or practice and unfair, deceptive, untrue or misleading advertising and any
26
     act prohibited by” the FAL. CAL. BUS. & PROF. CODE § 17200.
27
              101.   By engaging in the acts and practices described herein, Defendant has committed one
28
     or more acts of “unfair competition” as the UCL defines the term.
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1           102.    Defendant has committed “unlawful” business acts or practices by violating the

2    CLRA and the FAL, as detailed above.

3           103.    Defendant has committed “unfair” business acts or practices by, among other things:

4           a.      engaging in conduct for which the utility of the conduct, if any, is outweighed by the

5    gravity of the consequences to Plaintiffs and the members of the Class;

6           b.      engaging in conduct that is immoral, unethical, oppressive, unscrupulous, or

7    substantially injurious to Plaintiffs and the members of the Class; and

8           c.      engaging in conduct that undermines or violates the spirit or intent of the consumer

9    protection laws that this Class Action Complaint invokes.

10          104.    The acts, omissions, misrepresentations, practices, and non-disclosures of Defendant,

11   as alleged herein, constitute “fraudulent” business acts and practices, because Defendant’s conduct

12   is false and misleading to reasonable consumers, including Plaintiffs and the Class.

13          105.    Defendant has committed unlawful, unfair, and/or fraudulent business acts or

14   practices by, among other things, engaging in conduct Defendant knew or should have known was

15   likely to and did deceive reasonable consumers that purchased the Products.

16          106.    Additionally, or alternatively, Defendant has violated the FAL by making material

17   omissions. At the time Plaintiffs and the Class members purchased the Products, Defendant had a

18   duty to disclose to Plaintiffs and the Class members the material fact that the Products contained
19   ingredient replacements that were not better for hair health or less harmful to human health than the

20   ingredients used in traditional hair color formulas.

21          107.    When Plaintiffs and the Class members purchased the Products from Defendant, they

22   did not know that those products were not better for hair health or less harmful to human health over

23   hair color products made using traditional formulas and ingredients.

24          108.    Plaintiffs and the Class members would not have purchased the Products from

25   Defendant, or would have paid less for them, but for the misleading representations and/or

26   omissions by Defendant detailed above.
27          109.    The Products purchased by Plaintiffs and the Class members from Defendant were

28   worth less than the products for which they paid. Plaintiffs and the Class members paid a premium

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1    price for the Products on account of Defendant’s misrepresentations and/or omissions detailed

2    herein.

3              110.   Plaintiffs and the Class members were injured in fact and lost money as a result of

4    Defendant’s representations and/or omissions relating to the sale of the Products.

5              111.   In accordance with California Business and Professions Code section 17203,

6    Plaintiffs seek an order enjoining Defendant from continuing to conduct business through unlawful,

7    unfair, and/or fraudulent acts and practices and to commence a corrective advertising campaign.

8              112.   Plaintiffs also seek an order for the disgorgement and restitution of all monies from

9    the sale of the Products unjustly acquired by Defendant through acts of unlawful, unfair, and/or

10   fraudulent competition.

11             113.   Therefore, Plaintiffs pray for injunctive and other public relief consistent with the

12   relief (such as restitution) that the California Supreme Court discussed in McGill v. Citibank, N.A.,

13   393 P.3d 85 (Cal. 2017) and the Ninth Circuit in Blair v. Rent-a-Center Inc., 928 F.3d 819 (9th Cir.

14   2019).

15                                          PRAYER FOR RELIEF

16             WHEREFORE, Plaintiffs demand judgment individually and on behalf of the proposed Class

17   as follows:

18             A.     An order certifying the proposed Class; appointing Plaintiffs as representatives of the
19   Class; and appointing their undersigned counsel as Class counsel;

20             B.     A declaration that Defendant is financially responsible for notifying members of the

21   Class of the pendency of this suit;

22             C.     A declaration that Defendant has committed the violations of law alleged herein;

23             D.     An award of restitution pursuant to California Business and Professions Code

24   §§ 17203, 17535;

25             E.     An award of disgorgement pursuant to California Business and Professions Code §§

26   17203, 17535;
27             F.     An order enjoining Defendant’s unlawful and deceptive acts and practices, pursuant

28   to California Business and Professions Code §§ 17203, 17535, and California Civil Code § 1780,

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1    requiring Defendant to remove language from the Products’ packaging, marketing, and advertising

2    that represents that the product is free of “bad stuff” and/or certain “harsh” ingredients including,

3    among others, ammonia, resorcinol and PPD, and any other misleading language relating to the

4    Products’ ingredients;

5           G.      An order requiring Defendant to pay actual, statutory, punitive, and all other damages;

6           H.      An order awarding Plaintiffs and the Class the reasonable costs and expenses of suit,

7    including their attorneys’ fees;

8           I.      An order awarding pre- and post- judgment interest to the extent the law allows; and

9           J.      Any further relief that the Court may deem appropriate.

10

11                                       JURY TRIAL DEMANDED

12          Plaintiffs demand a trial by jury for all claims so triable.

13

14   DATED: February 19, 2021                       REESE LLP

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